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                   3

                   4 Entered on Docket
                 June 30, 2020
            ___________________________________________________________________
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                   8
                         PAUL J. MALIKOWSKI,ESQ.
                   9     Nevada State Bar No. 0980
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               10        P.O. Box 9030
                         Reno, Nevada 89507-9030
               11        Telephone: (775) 786-0758
                         Facsimile: (800) 321-9501
               12        paul@nvlaw.com
                         Attorney for Debtor
               13        BA GENERAL,INC.

               14                        IN THE UNITED STATES BANKRUPTCY COURT

               15                              FOR THE DISTRICT OF NEVADA

               16

               17        IN RE                         )                   Case No. 20-50402-btb
                                                       )
               18        BA GENERAL,INC.               )                   Chapter 11
                                                       )
               19                        DEBTOR        )                   ORDER OF DISMISSAL
                                                       )
               20        ______________________________)

               21

               22                Upon review of the STIPULATION BY ALL PARTIES OF INTEREST

               23        TO DISMISS CASE between the Debtor, B.A. GENERAL, INC., by and

               24        through its counsel, PAUL J. MALIKOWSKI, ESQ., the Secured

               25        Creditor, VINCENT RESEARCH & DEVELOPMENT, INC, (“VINCENT

               26        RESEARCH”, by and through its counsel, AMY N. TIRRE, ESQ., and

               27        the Chapter 11 Subchapter V Trustee, PATRICIA M. ARNOTT, and
PAUL MALIKOWSKI, ESQ.
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                1       finding sufficient cause,

                2            The Court finds that this case was commenced under Chapter

                3       11 on April 6, 2020, and not previously converted from another

                4       Chapter, and therefore meets the requirements of 11 U.S.C.

                5       1112(b).

                6            It is hereby in the best interest of the Debtor, its sole

                7       shareholder, the secured parties, and the Washoe County

                8       Treasurer that this Chapter 11 case be dismissed.

                9            Accordingly, IT IS HEREBY ORDERED that the Stipulation by

              10        all Parties to Dismiss Case filed on June 27, 2020 as docket

              11        number 31, is hereby approved and this Case is hereby

              12        DISMISSED, effective upon entry of Order, subject to the

              13        payment of the $ 3,500. to Patricia M. Arnott the Subchapter V

              14        Trustee, as full satisfaction of all fees and costs set forth

              15        in her fee application filed herein on June 19, 2020 and

              16        approved by the Court on June 24, 2020.

              17             IT IS SO ORDERED.

              18

              19
              20        Respectfully Submitted by:

              21

              22        /s/_Paul J. Malikowski__
                        Paul J .Malikowski, Esq.
              23        Attorney for Debtor
                        BA GENERAL,INC.
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              26                                          # # #
              27
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